      Case 1:22-cv-00986-GTS-CFH Document 7 Filed 09/22/22 Page 1 of 3




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                                   September 22, 2022
Hon. Glenn T. Suddaby                                          via ECF
United States District Court
Northern District of New York
Federal Building and U.S. Courthouse
P.O. Box 7367
Syracuse, NY 13261-7367

       Re: Antonyuk, et al. v. Hochul, et al., No. 1:22-CV-986 (N.D.N.Y) (GTS/CFH)
Dear Judge Suddaby:
       I file this errata to Plaintiffs’ Emergency Motion for Temporary Restraining
Order (Docket No. 6) in the above-styled case. I inadvertently did not file “a copy of
the complaint, if the case has been recently filed[,]” pursuant to LR 65.1. As such, I
attach that document hereto.
       Yours very truly,



                                          Stephen D. Stamboulieh

cc:    By email to Defendants as follows:

The Honorable Kathy Hochul
Governor of New York State
NYS State Capitol Building
Albany, NY 12224
Phone: 518-474-8390
c/o James M. Thompson, Special Counsel for Second Amendment Litigation
james.thompson@ag.ny.gov
Michael McCartin, Assistant Attorney General
michael.mccartin@ag.ny.gov

Kevin P. Bruen

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      Case 1:22-cv-00986-GTS-CFH Document 7 Filed 09/22/22 Page 2 of 3




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     Case 1:22-cv-00986-GTS-CFH Document 7 Filed 09/22/22 Page 3 of 3




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